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7

8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,              Case No.      1:16-CR-00093 LJO-SKO
12              Plaintiff,                  STIPULATION AND PROTECTIVE ORDER
                                            BETWEEN THE UNITED STATES OF
13        v.                                AMERICA AND DEFENDANT ANGELICA
                                            MORENO-VELASQUEZ
14   ANGELICA MORENO-VELASQUEZ,
15              Defendant.
16

17        WHEREAS, the discovery in this case is expected to contain a
18   limited amount of sensitive information that potentially may
19   reveal confidential sources and methods (“Protected
20   Information”); and
21        WHEREAS, the parties desire to avoid potentially revealing
22   confidential sources and methods;
23        The parties agree that entry of a stipulated protective
24   order is appropriate.
25        Therefore, Defendant ANGELICA MORENO-VELASQUEZ, by and
26   through her counsel of record (“Defense Counsel”), and the United
27   States of America, by and through Assistant United States
28   Attorney Christopher D. Baker, hereby agree and stipulate as

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1    follows:
2         1.      This Court may enter a protective order pursuant to
3    Rule 16(d) of the Federal Rules of Criminal Procedure, and its
4    general supervisory authority.
5         2.      This Order pertains only to discovery provided to or
6    made available to Defense Counsel in this case subsequent to the
7    date of entry of this Order and which is marked with a
8    “Confidential” bates stamp marking (hereafter, collectively known
9    as the “discovery”).
10        3.      By signing this Stipulation and Protective Order,
11   Defense Counsel agrees not to share any documents that contain
12   Protected Information with anyone other than Defense Counsel
13   attorneys, designated defense investigators, and support staff.
14   Defense Counsel may permit the Defendant to view unredacted
15   documents in the presence of her attorney, defense investigators,
16   and support staff.     The parties agree that Defense Counsel,
17   defense investigators, and support staff shall not allow the
18   Defendant to copy Protected Information contained in the
19   discovery.
20        4.      The discovery and information therein may be used only
21   in connection with the litigation of this case and for no other
22   purpose.     The discovery is now and will forever remain the
23   property of the United States of America (“Government”).            Defense
24   Counsel will return the discovery to the Government or certify
25   that it has been destroyed at the conclusion of the case.
26        5.      Defense Counsel will store the discovery in a secure
27   place and will use reasonable care to ensure that it is not
28   disclosed to third persons in violation of this agreement.

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1         6.    Defense Counsel shall be responsible for advising the
2    Defendant, employees, and other members of the defense team, and
3    defense witnesses of the contents of this Stipulation and Order.
4         7.    In the event that Defendant substitutes counsel,
5    undersigned Defense Counsel agrees to withhold discovery from new
6    counsel unless and until substituted counsel agrees also to be
7    bound by this Order.
8         IT IS SO STIPULATED.
9    DATED: August 11, 2016                     PHILLIP A. TALBERT
                                                Acting United States Attorney
10

11                                       By: /s/ Christopher D. Baker
                                              CHRISTOPHER D. BAKER
12                                            Assistant U.S. Attorney
13

14   DATED: August 11, 2016              By: /s/ John A. Meyer
                                              JOHN A. MEYER
15                                            Attorney for Defendant
                                              ANGELICA MORENO-VELASQUEZ
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17
     IT IS SO ORDERED.
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19     Dated:   August 11, 2016                  /s/ Lawrence J. O’Neill _____
                                         UNITED STATES CHIEF DISTRICT JUDGE
20                                            DISTRICT JUDGE
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                             Stipulation and Protective Order
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